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                                         EXHIBIT 8
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Bart Larsen

From:               Dr. Oliver Hemmers <oliver@infinitycapital.com>
Sent:               Thursday, February 14, 2019 6:50 PM
To:                 'Simon Clark'
Subject:            RE: Comments on Lon Agreement and Note.

Follow Up Flag:     Follow up
Flag Status:        Flagged


Yes, those funds have their own receivables independent of what will be funded with HedgeAct’s funds.

From: Simon Clark <s.h.clark@me.com>
Sent: Thursday, February 14, 2019 6:45 PM
To: Dr. Oliver Hemmers <oliver@infinitycapital.com>
Subject: Re: Comments on Lon Agreement and Note.

OK, so $1.9mm to this obligation and $8.8mm to FTM, would this be correct? And are these borrowings secured by a
specific basket of receivables that would be separate from those which we would attain?

Simon H. Clark
President
HedgeAct International Ltd.

805‐722‐8599




On Feb 14, 2019, at 18:39, Dr. Oliver Hemmers <oliver@infinitycapital.com> wrote:

       $1.9M

       From: Simon Clark <s.h.clark@me.com>
       Sent: Thursday, February 14, 2019 6:37 PM
       To: Dr. Oliver Hemmers <oliver@infinitycapital.com>
       Cc: Daniel Peterson <DPeterson@polsinelli.com>; Pantelas Anne <anne@infinitycapital.com>; Dobozy
       Endre S <endre@ftm‐investments.com>; Griffin Mike <mike@hedgeact.com>
       Subject: Re: Comments on Lon Agreement and Note.

       Sorry, could you also please quantify the outstanding debt/liability.

       Simon H. Clark
       President
       HedgeAct International Ltd.

       805‐722‐8599

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On Feb 14, 2019, at 18:32, Dr. Oliver Hemmers <oliver@infinitycapital.com> wrote:

       Neither is possible. The structure is in place and connect be changed. Repaying the loan
       might not be an option, either and we definitely cannot wait for funding until this is
       sorted out.

       From: Simon Clark <s.h.clark@me.com>
       Sent: Thursday, February 14, 2019 6:26 PM
       To: Dr. Oliver Hemmers <oliver@infinitycapital.com>
       Cc: Daniel Peterson <DPeterson@polsinelli.com>; Pantelas Anne
       <anne@infinitycapital.com>; Dobozy Endre S <endre@ftm‐investments.com>; Griffin
       Mike <mike@hedgeact.com>
       Subject: Re: Comments on Lon Agreement and Note.

       Well, in my view, we’ll have to address this in one of two ways; either that UCC will have
       to be tied to a specific pool of assets and subordinated to ours, or the loan will need to
       be repaid.

       As we do not have tangible security on specific lien positions, and the UCC was in lieu of
       same as perfecting was not possible, we shall need to be in first position. It might be
       possible to quantify the loan, however, the reps and warranties in our loan agreement,
       which you all signed earlier, clearly states that all assets are, or are to be
       unencumbered.

       Let’s leave this to the attorneys to sort out.

       We can still execute documents and begin to socialize the PPM, but this matter needs to
       be resolved before any draws can be sanctioned.

       All the best.

       Simon H. Clark
       President
       HedgeAct International Ltd.

       805‐722‐8599




       On Feb 14, 2019, at 18:13, Dr. Oliver Hemmers <oliver@infinitycapital.com> wrote:

               We looked into these and we contacted our attorney Brooke about
               those, as well. It looks like 2 of the 3 should get released. On the third


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      one we have a loan that is secured with receivables – similar to what we
      want to do with HedgeAct – and the loan is not repaid, yet.

      From: Daniel Peterson <DPeterson@Polsinelli.com>
      Sent: Thursday, February 14, 2019 3:51 PM
      To: oliver@infinitycapital.com; 'Simon Clark' <s.h.clark@me.com>;
      'Pantelas Anne' <anne@infinitycapital.com>; 'Dobozy Endre S'
      <endre@ftm‐investments.com>
      Cc: 'Griffin Mike' <mike@hedgeact.com>
      Subject: RE: Comments on Lon Agreement and Note.

      It appears that there are three existing UCC liens filed for Infinity
      already. Can you get these removed?

      Daniel Peterson
      Shareholder
      dpeterson@polsinelli.com
      314.622.6130
      100 S. Fourth Street, Suite 1000
      St. Louis, MO 63102
      polsinelli.com


      Polsinelli PC, Polsinelli LLP in California



      ‐‐‐‐‐Original Message‐‐‐‐‐
      From: oliver@infinitycapital.com [mailto:oliver@infinitycapital.com]
      Sent: Monday, February 11, 2019 11:49 PM
      To: 'Simon Clark'; 'Pantelas Anne'; 'Dobozy Endre S'
      Cc: 'Griffin Mike'; Daniel Peterson
      Subject: RE: Comments on Lon Agreement and Note.

      Dear Simon,

      Thank you very much for your comments and we agree that time is of
      the essence. Please find our comments below and maybe this will
      suffice.

      1. No, this is not an oversight; as lenders, we do reserve the right to
      withhold sanction of advance should the be “matters pertinent” that
      need to be addressed. Whilst this is a committed facility, each draw
      request will be evaluated on its own merit based on information
      received regarding the schedule of receivables, requisite coverage ratio,
      and detail as discussed last week.

      OK, we can leave this as is.

      2. As we discussed in Henderson, we would expect the expenses to be in
      the region of $5,000, however, should there be extraneous issues (such
      as a need to obtain specific regulatory exceptions for Sub‐adviser seed
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      monies, there could be an incremental cost: we would therefore
      suggest that we set a ceiling at $10,000.

      Yes, we discussed this amount but a number in writing would be
      appreciated for obvious reasons. $10k as a ceiling would work.

      3. It is standard lending practice to require a legal opinion of such, we
      are amenable to waiving the pre‐requisite.

      Brooke was simply asking for the format that you expect that opinion in.
      She is happy to get this done.

      4. This is standard lending terminology, and as would be holders of
      senior, secured debt, we would look to keep this.

      OK, we can keep this as is.

      5. As senior secured debt holders and, as we have been told, sole
      lenders to the firm (outside those promissory obligations to FTM...for
      which we would appreciate detail) we would expect that there are no
      other direct liabilities, or non‐disclosed contingent liabilities. Perhaps it
      would be prudent if you completed a full financial statement detailing
      any and all heretofore undisclosed debt obligations or contingent
      liabilities, this would then let us go back and review whether to afford a
      carve‐out with specific identification of same.

      Agree, this might be moot since in the long run HedgeAct would be the
      only entity holding any receivables. We were not sure what Endre
      discussed or agreed upon regarding FTM. When Endre thinks this is ok
      we are, too.

      6. Perhaps you would provide us (Dan) with exception language you
      might wish to include.

      Infinity's recent expansion brought us into Texas, Illinois, GA and some
      other states. We thought this is the intention for Infinity to grow and
      expand into other markets, why would there be a clause to limit that?
      Honestly, we do not understand the point of having this in the contract.

      7. My apologies, but we really don’t understand this. In order to make
      any advance, you will need to clearly demonstrate a net (columnar
      additions/subtractions discussed last week..ergo the paying of
      commissions to the injury center) 200% deminimus coverage ratio.

      Is 200% of the portfolio ratio per draw? If yes, then it is ok but if it is on
      the per individual bill/invoice then this would not work very well.

      The Note.

      It is normal business practice that should there be a default, for
      whatever reason, under a separate borrowing arrangement, then that
      would be an event of default under any corollary note. As stated above,

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      we were told by the sub‐adviser that this is, and would be, the only loan
      facility extant against the flow of receivables, hence this is either a moot
      point or we have to re‐evaluate the underwriting based on actual or
      contingent liabilities yet to be disclosed.

      This might be a moot point, again just thinking of FTM so maybe Endre
      has some concerns and he might be able to provide input.

      Thank you so much for the fast turnaround and comments. Hopefully,
      we can get this going tomorrow (Tuesday).

      Kind Regards,

      Anne and Oliver




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